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     <:>'AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet 1



                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIF )RNIA                                                                                .,
                                                                                                                                                        ';'':'''H' ";HNH~


                     UN1TED STATES OF AMERICA                                     JUDGMEN' IN A CRIMINAL CASE                                       W...r>-­
                                         v.                                       (For Offenses C' mmitted On or AftJ}'November 1, 1987)                     OrrlJT"
                                                                                                         r
                          TRACY LEE DYKES (3)                                     Case Number:                   ICR4346-DMS
                                                                                  Andrew K Niet                  CJA
                                                                                  Defendant's Attorney
    REGISTRATION NO. 27491298

    o
    THE DEFENDANT:
                                                                                                         \
    181 pleaded guilty to count(s) _1_o_f_th_e_In_d_ic_t_m_e_n_t_ _ _ _ _ _ _ _ _ _ _..,Ir-_________________
    o     was found guilty on count(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-lot_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.                                                      '
          Accordingly, the defendant is adjudged guilty of such count(s), which involve thet ollowing offense(s):
                                                                                                                                          Count
    Title & Section                           Nature of Offense                                                                          Number(s)
21 USC 952, 960,963                   CONSPIRACY TO IMPORT MARIJUANA                                                                      1




                                                                                                             ,
                                                                                                             "




                                                                                                             !




        The defendant is sentenced as provided in pages 2 through _ _..:.4_ _ of this judg~ ent. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
 181 Count(s)_re_m_a_in_i..:ng:::..-_ _ _ _ _ _ _ _ _ _~--------------------~-----------------------
                                                         ________ is 181 areO smissed on the motion of the United States.

 181 Assessment: $100.00.

  181 Fine waived.                                   o    Forfeiture pursuant to order f i l e d '
                                                                                           ----~---------
                                                                                                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district w ~in 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgme are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant' economic circumstances.

                                                                              OCTOBER 5, 2012
                                                                             Date of Imposition of Senten
                                                                                                                 I
                                                                                                            !
                                                                                                         :-,'

                                                                             HON. DANAM. SA RAW
                                                                             UNITED STATES Dn rRICT JUDGE
                                                                                                                                              11 CR4346-DMS
     Case 3:11-cr-04346-DMS                         Document 184           Filed 10/09/12
                                                                                     :.
                                                                                                     PageID.569         Page 2 of 4
                                                                                       I
AO 2458 (CASD) (Rev. 1211 J 1 Judgment in a Criminal Case                              i
            Sheet 2 - Imprisonment
                                                                                                                   _ _2_ of        4
 DEFENDANT: TRACY LEE DYKES (3)
 CASE NUMBER: llCR4346-DMS
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bure u of Prisons to be imprisoned for a term of
          FORTY-SIX (46) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [gj The court makes the following recommendations to the Bureau of Prisons:
          Defendant participate in the RDAP 500-hour drug treatment program.               I
          Defendant be designated to the Western Region of the U.S.                        I


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this distri(
            Oat                                      Oa.m.    Op·m.      on
                as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution de gnated by the Bureau of Prisons:
           o before ------------------------------------------*----------------------------­
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:                                                     !
                                                                                               !
         Defendant delivered on                                                   to

 at _____________________ , with a certified copy of this judgme t.


                                                                                                   lJNITED STATES MARSHAL



                                                                      By   -------1~--------------------------
                                                                                    pEPUTY UNITED STATES MARSHAL




                                                                                                                            llCR4346-DMS
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AO 245B (CASD) (Rev. 1211 I) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                                      3 _ of _ _4~_ _
                                                                                                                      Judgment-Page _ _
DEFENDANT: TRACY LEE DYKES (3)                                                                                D
CASE NUMBER: llCR4346-DMS
                                                           SUPERVISED RELEA
Upon release from imprisonment, the defendant shall be on supervised release for at'
THREE (3) YEARS.                                                                               I
                                                                                               I
                                                                                         I
         The defendant shall report to the probation office in the district to which the I efendant is released within 72 hours of release from
the custody of the Bureau of Prisons.                                                    t
                                                                                               I
The defendant shall not commit another federal, state or local crime.                           I



For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shaH frain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from prisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submissio of more than ~ drug tests per month during
the term of supervision, unless 0 therwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determinati                  that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
                                                                                                    I

[8J    The defendant shall not possess a firearm, ammunition, destructive device, or an other dangerous weapon.
                                                                                                    1



[8J    The defendant shall cooperate in the collection ofa DNA sample from the defendant, pu' nt to section 3 of the DNA Analysis
       Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with tile requirements of the Sex Offender Registration ana tification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration age   in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)                                I

o The defendant shall participate in an approved program for domestic violence. (. eck, if applicable.)
                                                                                            I.
          If this judgment imposes a fine or restitution obligation, it is a condition of su ervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised relea in accordance with the Schedule of Payments set
forth in this judgment.
                                                                                                            by this court. The defendant shall also comply with


                                        STANDARD CONDITIONS OF SUP RVISION
  I)     the defendant shall not leave the judicial district without the permission of the c                rt or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency dir tcd by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and fo ow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family respons ilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by th probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any ch                 e in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, ossess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, e cept as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally                   ld, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity a, shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;            [,
                                                                                                        ,
 10)     the defendant shall permit a probation officer to visit him or her at any time at ho                or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
                                                                                                        l
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing a ested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a spec'                   agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks at may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation offi r to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                             11CR4346-DMS
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       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                         Judgment-Page   --4- of _-..:..4_ _
       DEFENDANT: TRACY LEE DYKES (3)                                                               D
       CASE NUMBER: 11CR4346-DMS




                                             SPECIAL CONDITIONS OF SUP                          VISION
\81 Submit person, residence, office or vehicle to a search, conducted by a United States obation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a        lation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents th' t the premises may be subject to searches pursuant to
    this condition.                                                                      I
o                                                                                           I
    Ifdeported, excluded, or allowed to voluntarily return to country of origin, not reente~ he United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.                                          !
o   Not transport, harbor, or assist undocumented aliens.                                   f
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
\81 Not enter or reside in the Republic ofMexico without written permission of the Court! r probation officer.
\81 Report all vehicles owned or operated, or in which you have an interest, to the probati' officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescr' tion.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled su, tances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation office take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without pennission. The C urt authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by e probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be require 0 contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to p
D Take no medication containing a controlled substance without valid medical prescripti , and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probatio" fficer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or open g additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
D   Complete            hours of community service in a program approved by the probation        lcer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a

Qg Participate in a program of drug or alcohol abuse treatment, including urinalysis or swe' patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of infonnation between the probation of er and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be detennined by the probat n officer, based on the defendant's ability to pay.




                                                                                                                                     11CR4346-DMS
